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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                               Case No. 20 CR 629-1

                                                 Honorable Mary M. Rowland
OBAIDULLAH SYED,

              Defendant.




                 DEFENDANT OBAIDULLAH SYED’S RESPONSE TO
                  GOVERNMENT’S SENTENCING MEMORANDUM




                                                  Ryan S. Hedges, Esq.
                                                  Junaid A. Zubairi, Esq.
                                                  Nusra Ismail, Esq.

                                                  VEDDER PRICE P.C.
                                                  222 North LaSalle Street
                                                  Chicago, Illinois 60601
                                                  T: +1 312 609 7500
                                                  rhedges@vedderprice.com
                                                  jzubairi@vedderprice.com
                                                  nismail@vedderprice.com


                                                 Attorneys for Defendant Obaidullah Syed
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                               PRELIMINARY STATEMENT

       Near the end of the government’s sentencing memo, the government seems to recognize

Mr. Syed’s advanced age of 67 years and his “concerning medical history” (ECF 69 at 30), which

includes three separate heart attacks, each of which required hospitalization, ongoing

cardiovascular problems and serious other health issues including Type II diabetes (PSR ¶¶ 43-

48). But the government then coldly turns those facts on their head, suggesting that Mr. Syed’s

advanced age is actually an aggravating factor because it supposedly provided the “years of

experience” necessary to carry out the offense. (ECF 69 at 30.) Offering its opinion that Mr. Syed

“is, at age 67, an older man; but he is not old,” the government argues for a sentence of 48 months

in prison. The government’s draconian proposed sentence is twice as long as the sentence

recommended by the Probation Officer. The truth is that either recommended sentence would, in

all likelihood, be the equivalent of a death sentence for Mr. Syed given his age and poor health.

Both recommended sentences are far greater than necessary to sufficiently achieve the purposes

of sentencing in this case under 18 U.S.C. § 3553(a), and therefore they are not appropriate.

       The government argues that over decades of life experience Mr. Syed “learned the ins and

outs of U.S. export laws and regulations, and how to evade them.” (ECF 69 at 30.) This leaves one

to wonder: What case is the government talking about? In the case that is before this Court,

Mr. Syed has pleaded guilty and accepted responsibility for exporting certain equipment from the

United States without the requisite license from the Department of Commerce, and supported by

export documentation that contained false information. The offense was “[not] overly

sophisticated,” as the Probation Officer correctly noted, and involved only five isolated

transactions during Mr. Syed’s 36-year tenure at Business Systems International, Pvt. Ltd. (“BSI”).

(Sentencing Recommendation (Disclosed) at 2.) Two of the five transactions involved goods

valued at only $2,650.00 and $533.28, respectively. (GV Ex. 39B; ECF 56 at 14.) Contrary to the
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government’s argument, this clearly is not the track record of a highly skilled and experienced

“evader” of U.S. export controls, or anyone else who should serve years in prison.

        Similarly, the government’s aggressive attempt to recast the relevant transactions as a

serious threat to U.S. national security is altogether overblown. Mr. Syed’s computing power

expert established that the computer systems exported in this case were low-powered and not high

performing, (ECF 68-4), and so did the government’s own experts at Los Alamos. If these low-

powered computer systems posed any actual threat to the national security of the United States

(and there is no actual evidence of any such threat), it was extremely minimal in nature and a

downward departure under Guideline § 2M5.1, Application Note 2 is warranted. This conclusion

is supported by the government’s lack of urgency in investigating this case over the course of ten

years, then arresting Mr. Syed in September 2020, just before the statute of limitations expired five

years after the final relevant transaction (involving goods valued at only $533.28) (ECF 56 at 14.)

        Since his arrest in September 2020 and following his release on bond after spending ten

days in Winnebago County Jail during the height of the pandemic, Mr. Syed has been fully

compliant with all conditions of his bond and with the presentence investigation. The Probation

Officer agrees that Mr. Syed “has demonstrated a lengthy period of law-abiding conduct and

amenability to the Court’s orders and supervision.” (Sentencing Recommendation (Disclosed) at

2.) At or before sentencing, Mr. Syed will pay an agreed forfeiture amount of $247,000 pursuant

to a personal money judgment. His life savings are gone and he and his wife will have to be

financially supported by their children for the rest of their lives. Additionally, Mr. Syed, who has

already suffered three heart attacks, has exhibited deteriorating health during the pendency of this

case.




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        In light of the history and characteristics of Mr. Syed, the actual facts regarding the nature

of the offense, and considering all of the sentencing factors set forth in 18 U.S.C. § 3553(a), the

sentences recommended by the government and the Probation Officer are greater than necessary

and therefore are not appropriate. Mr. Syed respectfully requests that the Court vary downward

pursuant to 18 U.S.C. § 3553(a) to impose a sentence of time served (ten days) and a 2-year term

of supervised release because such a sentence is sufficient but not greater than necessary to achieve

the purposes of sentencing in this particular case.

                                           ARGUMENT

        The government’s aggressive attempts to establish facts to support uncharged conduct and

a role enhancement for Mr. Syed are based almost entirely on the government’s own interpretation

of select emails and other documents. Often times, the government’s interpretation of a document

strains credulity. Other times, a document may also be reasonably read to support Mr. Syed’s

position. This is not proof by a preponderance. At the end of the day, the Court should reject the

government’s unnecessarily aggressive efforts to establish facts beyond its indictment and the

parties’ plea agreement in an attempt to enhance Mr. Syed’s sentence.

I.      The Government Fails to Prove the PAEC Was the End-User of the Onyx 3400

        In the plea agreement, Mr. Syed admitted that in exporting the Onyx 3400, Mr. Syed and

BSI identified “Taxila University” as the end-user but failed to identify the PAEC as the purchaser.

(ECF 56 at 6.) The government now seeks to establish that Taxila University was not actually the

end-user of the Onyx 3400.

        In support of its claim, the government alleges that an email from January 2009 (seven

years after the transaction) somehow establishes that the PAEC was the true end-user of the Onyx

3400. (ECF 69 at 12.) The government’s interpretation of the email is wrong. In the email, the BSI

employee clearly refers to “information of UET Taxila machine.” (GV Ex. 18.) In other words,

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information relating to a machine belonging to Taxila University. The email goes on to confirm

that the “customer name” is “University of Engineering and [Technology] Taxila” and notes

“[a]ctual customer: PAEC.” The government treats this language almost as a smoking gun of sorts

(ECF 69 at 12), but in actuality it is completely consistent with what really happened—PAEC was

the entity that paid BSI for the Onyx 3400 to be used by Taxila University. For the same reasons,

PAEC was the entity who contacted BSI when replacement parts were needed for the Onyx 3400.

         Additionally, the government suggests that there is “no evidence that Taxila University had

anything to do with this computer.” (ECF 69 at 12.) Not true. Purchase orders and internal

documents from Computer Company A clearly show that the Onyx 3400 was meant for Taxila

University. (GV Ex. 13, 14.) Other forms demonstrate that Taxila University’s existing systems

included the Onyx 3400 (GV Exs. 49B, 53.) And during Mr. Syed’s custodial interview following

his arrest in September 2020, he stated that the Onyx 3400 was provided to Taxila University. (See

DV at 3.)

         With respect to the Onyx 3400, the government provides only self-serving interpretations

of a few select documents, while completely ignoring other documents that support a different

view. This falls well short of proving by a preponderance that the true end-user of the Onyx 3400

was the PAEC, and not Taxila University.

II.      The Government Fails to Prove the Tezro System Was Exported to Any Entity, Let
         Alone the NDC

         After failing to uncover sufficient evidence to include a charge in the indictment related to

an alleged unlawful export of a Tezro computer work station and TP9300 computer storage system

(the “Tezro system”), the government now seeks to prove up the allegations as relevant conduct.

But the government cannot meet its burden even by a preponderance. There is no evidence that




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Mr. Syed and BSI unlawfully exported the Tezro system. In reality, nobody ever paid BSI for the

Tezro system, it was only used for demonstration purposes and it rarely if ever functioned properly.

       The government claims that “Syed and BSI arranged for the unlawful export” of the Tezro

system “to NDC in Pakistan without obtaining a license.” (ECF 69 at 14.) But the evidence

proffered by the government only establishes, at best, that (1) BSI placed an order with Computer

Company A for the Tezro systems; (2) BSI represented to Computer Company A that the Tezro

system would be used for demonstration purposes; and (3) Computer Company A shipped the

Tezro system to BSI in June 2004. Thus, the government’s claim fails.

       To support its theory that the Tezro system was then sold to the NDC, the government in

conclusory fashion labels three individuals as “NDC Employee A,” “NDC Employee B,” and

“NDC Employee C.” But there is insufficient proof that the individuals were actually affiliated

with NDC at the time the Tezro system was shipped to BSI in 2004. Indeed, the government cites

to several documents which do not even once use the terms “National Development Complex” or

“NDC.” For example, the government claims that the Tezro system went to the NDC because of

an email Mr. Syed sent to “Mohammad Asif” in 2004. (GV Ex. 28A.) The face of the email has

no indication that “Mohammad Asif” is affiliated with the NDC. Another email relied on by the

government simply refers to a Tezro system and “Asif Sb,” with no indication of who “Asif Sb”

is or whether he is affiliated with the NDC. (GV Ex. 29.) The government also asserts, without

support, that emails referencing “Dr. Raza’s Tezro” or “Raj Muhammad” demonstrate that the

Tezro system went to the NDC. (GV Exs. 30-35.) Again, none of these emails have any reference

whatsoever to the NDC. 1



1
 Moreover, some of the government’s proffered evidence is internally inconsistent and thus has
questionable evidentiary value. For example, GV Ex. 32 purports to be an email from “Raj
Muhammad,” but the sender of the email is “Muhammad Tahir.”
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       In an attempt to connect these individuals to the NDC, the government piles inference upon

inference and relies on several documents that have no relation to the Tezro system in 2004

whatsoever. The government cites to a bank check from 2015 (GV Ex. 97B), eleven years after

the Tezro system was shipped to BSI, which was signed by “Muhammad Asif” as evidence that

“Mohammed Asif” was an NDC employee in 2004.2 But a document created more than a decade

after the Tezro system was shipped is barely, if at all, probative of where “Mohammad Asif” may

have worked in 2004.3

       The government further relies on numerous documents it attaches as Exhibit A to its

sentencing memorandum, which it admits are “unrelated to the Tezro.” (ECF 69 at 16.) As an

initial matter, the first six pages of the government’s Exhibit A have no reference to any affiliation

with the NDC and do not establish that the referenced “Muhammad Asif” is the “Mohammad

Asif” with whom BSI communicated regarding the Tezro system in 2004. Further, page 7 of

Exhibit A is an email from 2006 (two years after the Tezro system was shipped to BSI) and

references a “Mr. Asif from NDC” without any connection to a “Mohammad Asif.” The remaining

documents in the exhibit similarly are emails sent years after the Tezro system was delivered to

BSI and do not prove that Mr. Syed unlawfully exported the Tezro system to NDC in 2004. This

is especially true given the competing evidence that Mohammad Asif had at various points been

employed with the PAEC and the Pakistan Institute of Engineering and Applied Sciences (PIEAS).




2
 The government also cites to an excerpt of Mr. Syed’s September 16, 2020 interview regarding
Mohammad Asif but as discussed in Mr. Syed’s Sentencing Memorandum, that excerpt is
unreliable. (ECF 67 at 22-23.)
3
 Moreover, the bank check from 2015 was for an amount of 895,396 Rupees, or approximately
$8,778 USD. This relatively low amount does not help to establish that the check was provided in
exchange for any computer systems from BSI, let alone the Tezro system 11 years earlier.


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(See DV Ex. A, payment status document indicating the installation of a device for Asif at PIEAS;

DV Ex. B, discussing sales tax invoices for “Muhammad Asif” at PIEAS; DV Ex. C, PAEC

Webpage at page 5, stating that “Muhammad Asif” was a PAEC official.)

       Regarding “Raj Muhammad” the only documents that the government offers purporting to

connect him to NDC are (1) the same 2015 bank check which was signed by “Muhammad Asif”

and the parent email attaching that bank check, which simply notes that the check was received

from the office of “Raj” (no last name) (GV Ex. 97B); (2) an email from 2005 regarding the Tezro

system and referencing a “Raj” (no last name and no reference to NDC); and (3) a document from

2009 showing that a “Raj Muhammad” was affiliated with the NDC, but bearing no reference to

the Tezro system whatsoever (GV Ex. 98). These documents fall well short of proving that “Raj

Muhammad” was affiliated with the NDC or the Tezro system transaction in 2004, particularly

given that the name “Raj” is a very common name in Pakistan.

       Similarly, regarding “Dr. Raza,” the government simply speculates that this individual is

actually “Raza Sammar” (even though the emails regarding the Tezro system do not mention

“Raza Sammar”) and that this individual was affiliated with the NDC in 2004. Then the

government asks the Court to examine anachronous documents unrelated to the Tezro system and

which have no mention of NDC (Exhibit B to the government’s sentencing memorandum) and to

conclude that the “Dr. Raza” referenced in the email regarding the Tezro system is a “Raza

Sammar” allegedly affiliated with the NDC. In reality, the “Dr. Raza” in the 2005 email regarding

the Tezro system likely referred to Dr. Syed Shoaib Raza, a PIEAS employee. (See DV Ex. D,

PIEAS Meeting Minutes, identifying “Dr. Shoaib Raza” as a PIEAS member; DV Ex. E, PIEAS

proposal directed to “Dr. Syed Shoaib Raza.”) Thus, the government’s speculation regarding

“Dr. Raza” proves nothing.



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       In any case, putting aside the question of whether “Mohammad Asif,” “Raj Muhammad”

and “Dr. Raza” were NDC employees in 2004, the government’s argument fails for the simple fact

that there is no proof whatsoever that the Tezro system was actually sold to anyone, let alone the

NDC. Conspicuously missing from the government’s evidence is any document indicating that the

NDC or any entity submitted a purchase order to BSI for the Tezro system or that BSI received a

payment from the NDC (or anyone else) for the Tezro system.

       This is completely consistent with Mr. Syed’s version of events and the documents we have

cited that establish the Tezro system was purchased by BSI to be used for demonstration purposes,

but never functioned properly. Indeed, emails from October 29, 2004 and November 17, 2004

indicate that just a few months after shipment of the Tezro system, it needed to be repaired. (GV

Exs. 28, 29) (noting that the Tezro system was “faulty” and was sent for repair.) In March 2005,

the Tezro system continued to be defective and BSI had to order another part for repair. (GV Ex.

30) (referencing replacement part.) The Tezro system continued to malfunction in April-

May 2005. (GV Exs. 32-34) (noting that various parts of the system were not working.)

       In sum, the government has failed to prove by a preponderance that Mr. Syed exported the

Tezro system to NDC in violation of U.S. export regulations.

III.   A Downward Departure Pursuant to § 2M5.1, Application Note 2 Is Warranted

       A.      The Government’s Characterization of the PAEC Is Outdated

       The government argues that the end-users of the goods at issue in this case are “cause for

serious concern.” (ECF 69 at 18.) First, as explained above, there is no evidence that the NDC was

an end-user of any of the goods at issue in this case. Moreover, regarding the government’s

reference to the Entity List identifying NDC “as one of the PAEC’s ‘subordinate entities’” (ECF

69 at 4), it bears mentioning that the Entity List was revised on October 1, 2001 to include that

note. (See 66 FR 50090, available at 2001 WL 1147759.) As explained in Mr. Syed’s Sentencing

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Memorandum, Pakistan moved its nuclear weapons program out of the PAEC and into the NDC

in or around 2001 and the PAEC is now focused on civil uses of nuclear power, not weaponry.

(ECF 67 at 14-15.) In any event, as the government itself recognizes, NDC’s parent organization

is the National Engineering and Scientific Commission (NESCOM), not PAEC. (ECF 69 at 3, n.3.)

        In response to the various sources cited by Mr. Syed indicating that the PAEC is no longer

involved in the development of nuclear weaponry (including sources directly from the U.S.

government), the government cites a single 2018 article (ECF 67 at 19, n. 4) that argues Pakistan

“barely” separated its civil and military nuclear facilities and is “secretive” about its nuclear

program, but admits that the purpose of a new power plant that was being constructed at the time

“may be civil.”4 Additionally, the article acknowledged evidence indicating that “planning and

expenditures for construction by the Pakistan Atomic Energy Commission (PAEC) of a fuel

enrichment plant that is slated for operation in June 2022 (originally slated for a June 2018

opening) . . . appears to be part of a larger civil effort to make fuel for nuclear power reactors.”

The article provides no other information specific to the PAEC. In other words, this article only

evinces more speculation on the part of the government.

        The government also relies on an unauthenticated “internal PowerPoint presentation”

attached to an email between alleged PAEC employees—notably, neither Mr. Syed nor any other

BSI employee received the email—which notes that an entity called DSD (not PAEC)5 engages in

a variety of research, including fluid dynamics, plasma physics, and others, and which makes a




4
 See Institute for Science and International Security Report on Pakistan’s Growing Uranium
Enrichment Program (May 30, 2018), https://isis-online.org/isis-reports/detail/pakistans-
growinguranium-enrichment-program/12 (last visited March 29, 2022).
5
 The government argues that this PowerPoint relates to the PAEC’s Directorate of Science
Division (ECF 69 at 20), but the actual PowerPoint only refers to “DSD.” (GV Ex. 19B.)
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single reference to research involving “detonics.” (GV Ex. 19B at 2.) This sole reference made in

passing in an unauthenticated document about DSD does not establish that the PAEC was

something over than a civil agency focused on civil uses of nuclear power during the relevant time

period.

          Finally, it is worth noting that although the United States. has deemed the PAEC enough

of a threat to warrant inclusion on the Entity List, the Department of Commerce has approved

licenses for exports to the PAEC. A Bureau of Industry and Security license history check indicates

that the Pakistan Atomic Energy Commission was an “ultimate consignee” of goods within the

timeframe at issue in this case. (See GV Ex. 20.)

          B.     The Exported Goods Were Not High Performing

          Pointing to BSI’s marketing materials, the government attempts to argue that the computers

at issue in this case were in actuality “high performance” computers. (ECF 69 at 19.) But simply

calling something “high performance” in sales literature and marketing materials obviously does

not make it so. Indeed, the expert declaration provided with Mr. Syed’s Sentencing Memorandum

(ECF 68-4) carefully explains why the devices are not considered high performing. (See also ECF

67 at 20-21, 23-28.)

          On this point the government also relies on the unauthenticated “internal PowerPoint”

presentation for “DSD.” (ECF 69 at 20-21.) But that presentation does not tie any of the computing

systems referenced therein to any transaction with Mr. Syed or BSI. In any case, any bare

references to “High Performance Computing” contained in the presentation are likely just

references to marketing language and do not rebut the detailed analysis conducted by

Mr. Robinson which describes the actual performance capabilities of the processors included in

the systems at issue in this case. (See ECF 68-4.)



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        As we explained in Mr. Syed’s Sentencing Memorandum, the HPC Wire news article cited

by the government simply restates the marketing points provided by Computer Company A. (ECF

67 at 23.) Additionally, the government continues to offer a partial quote from the article that

incorrectly suggests that the U.S. Army and NASA utilized the Onyx 3400 system (which only

had 8 processors), when in reality the article was referring to Computer Company A’s Origin 3000

line (which had 512 processors).6 (Id.; ECF 68-4 ¶ 29.)

        Finally, the government cites to reports provided by scientists from Los Alamos National

Laboratory in 2018. But these reports actually undermine the government’s position. The scientists

described the Onyx 3400 as “entirely consistent with an academic procurement for delivery in

Pakistan” and that it had a “modest processor count.” (ECF 68-4, Ex. 6 at BSI-DoD-000037-38)

(emphasis added.) They further noted that it was “adequate for student use in an academic

environment however, this combination was most likely unsuitable for the increased computing

demand required for most military applications.” (Id. at BSI-DoD-000033) (emphasis added.)

Finally, the Los Alamos scientists concluded that the Onyx 3400 “would be a decent machine for

student projects, but likely had insufficient memory for significant modeling and simulation

work.” (Id. at BSI-DoD-00038) (emphasis added.)

        Regarding the Tezro system (which the government has failed to prove was exported in

violation of U.S. law), the scientists recognized that it had a “small processor count,” and was not

“particularly well-suited for large-scale simulation codes,” and further opined that the “good multi-

display graphics, coupled with large storage systems” made it worth the expense. (Id. at BSI-DoD-

000050.) This hardly establishes that the Tezro system was “high performance.” Moreover, the




6
 The contemporaneous availability of the significantly more powerful Origin 3000 line further
demonstrates the relatively low-powered nature of the Onyx 3400.
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scientists acknowledged that the Tezro system was designed for “the power supplies found in

North America” (power supplies used in Pakistan have a different voltage), which is further

evidence that the Tezro system was never properly functional in Pakistan. (Id. at BSI-DoD-00048.)

       With respect to the Los Alamos scientists’ “ultimate conclusion,” as noted in Mr. Syed’s

Sentencing Memorandum (ECF 67 at 25), the investigating agents apparently sought to have the

scientists issue an updated report to the government after their initial report failed to provide any

conclusions tying the Onyx 3400 and Tezro system to possible dangerous uses. Still, the revised

conclusion fails to provide any definitive analysis regarding any actual threat posed by the systems.

The scientists only generally concluded that the Onyx 3400 and Tezro system “could be used for

almost any purpose” and “[c]oupled with” certain software, theoretically could be used in a

military setting even though “these computers would not be called ‘supercomputers.’” (Id. at BSI-

DoD-000054.) This conclusion was based on assumptions that the end-user of the software would

“compile applications from source code developed by third parties or internal developers” and also

“couple” it with certain “CFD software in a military setting.” (Id. at BSI-DoD-000054.) But there

is absolutely no proof of that happening in this case, or evidence of what applications and software

were actually used on these computer systems during the relevant time period. The scientists

cautioned that the information they were provided “did not contain details regarding acquisition

dates, supported operating systems, or other such details” and accordingly “it is difficult to

correlate” the hardware purchases by BSI and any software. (Id. at BSI-DoD-000050.)

       The scientists’ half-hearted conclusions based on assumptions and hypotheticals do not

establish that the Onyx 3400 and Tezro system posed any real threat to United States national

security. Indeed, it is telling that after executing multiple search warrants and obtaining several

gigabytes of data as of 2018, the government could not provide any information to the Los Alamos



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scientists that would lead them to conclude that the computer systems posed any actual risk or

threat to national security. For all of these reasons, a downward departure under § 2M5.1,

Application Note 2 is appropriate.

IV.     The Government Fails to Prove that Mr. Syed Was an Organizer and Leader of a
        Criminal Activity Involving Five or More Participants

        As explained in Mr. Syed’s Sentencing Memorandum, a four-level enhancement under

USSG § 3B1.1(a) is inapplicable because the government cannot prove that there were five or

more participants involved in the criminal activity at issue in this case. (ECF 67 at 29-34.)7 For

purposes of USSG § 3B1.1(a), a “participant” is someone “criminally responsible for the

commission of the offense.” (USSG § 3B1.1(a), App. Note 1). A participant cannot be a “mere

unknowing facilitator[] of crime,” rather, the participant must “give[] knowing aid in some part of

the criminal enterprise.” United States v. Hall, 101 F.3d 1174, 1178 (7th Cir. 1996) (emphasis

added). The government’s proffered evidence does not establish that Co-Conspirators A-E all meet

the definition of “participant.”

        First, the government has failed to establish that all five Co-Conspirators understood let

alone willfully violated U.S. export laws. The government points to a January 12, 2009 email

forwarded to Co-Conspirators A-D to show that they “knew of U.S. export laws” (ECF 69 at 25).

At the very bottom of the forwarded email, Computer Company A notes that PAEC is a “prohibited



7
  The government argues that under the plea agreement, Mr. Syed admitted to conspiring with five
other persons to violate U.S. export laws and that failing to do so would have “jeopardized not
only his eligibility for an acceptance of responsibility” but also “his guilty plea itself.” (ECF 69 at
27 n.6.) In entering into the plea agreement, Mr. Syed was required to plead guilty to Count One
as charged, and the plea agreement simply restates the language of the indictment, including the
language stating that Mr. Syed “did conspire with” the five Co-Conspirators. (ECF 56 at 2.) This
language alone does not establish facts sufficient to apply the role enhancement under USSG
§ 3B1.1(a). The government does not directly argue to the contrary or provide any case law to
suggest otherwise. Importantly, the parties’ plea agreement expressly reserved Mr. Syed’s right to
present evidence and argument to the Court on this point. (Id. at 18.)
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end-user.” (GV Ex. 6A.) But the purpose of Mr. Syed’s forwarding of the email was to ask his

employees to fill out the attached form in regards to an order for PIEAS. (GV Ex. 6A.) The form

itself does not contain any language regarding U.S. export laws or regulations. (GV Ex. 6B.) The

government simply wants the Court to accept its assumption that all of these employees, who were

non-native English speakers, read and understood the legal impact of the language at the very end

of the forwarded email, even though the statement came from a private party and the focus of the

transaction and email concerned PIEAS, which was not a prohibited end-user. That assumes far

too much.

       The government further relies on a May 6, 2005 email to Co-Conspirator B (ECF 69 at 25),

but that does not relate to any transaction at issue in this case. Nor does the email establish whether

Co-Conspirator B actually read and understood the attached end-user forms, or simply forwarded

them on to others for signature, as Mr. Syed’s email requested him to do. (GV Ex. 4A.) Again, the

government improperly seeks to establish criminal conduct based on assumption.

       Regarding the BSI sales proposals, there is nothing that proves Co-Conspirators A, B, C,

or D had any role drafting the proposals, which simply state “Business Systems International Pvt.

Ltd. will organize the Export License from US Government.” (See, e.g., GV Ex. 5B at BSI-EX-

000034.) This is entirely consistent with the fact that Mr. Syed alone was responsible for ensuring

that BSI was compliant with U.S. export laws (see ECF 69 at 30-31) and provides no support for

the claim that any, let alone all, of the co-conspirators had knowledge of U.S. laws and willfully

violated them.

       Finally, the August 27, 2015 email cited by the government (GV Ex. 12) does nothing to

establish knowledge of export laws on behalf of Co-Conspirator E, as the documents attached to

Co-Conspirator E’s email were not completed by him but were simply forwarded by him. There



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is nothing to suggest that Co-Conspirator E actually read the forms or any language regarding U.S.

export laws contained therein, or that he would have had any reason to do so. Again, the

government is assuming too much.

       The government’s evidence regarding the “active steps” the Co-Conspirators took is

similarly unavailing. With respect to the government’s claim that Co-Conspirator A submitted a

purchase order falsely identifying Taxila University as the end user of the Onyx 3400, this

information was not false, as we explained above. Regarding the May 2004 documents relating to

the Tezro system, the Tezro system was not exported to the NDC or any other entity, as we

explained above. As for emails relating to the Onyx replacement parts, the role of the Co-

Conspirators in obtaining the parts has little if any bearing on the question of whether each of them

knowingly falsified any end-user documentation regarding the replacement parts. None of the

exhibits referenced by the government (GV Exs. 36A-39B, 41) demonstrates that any of the Co-

Conspirators completed any end-user forms for the Onyx replacement parts, let alone falsely

completed them.

       Regarding the Altix 450, the government claims that Co-Conspirators A-D “each took part

in either” processing the order for the Altix from PIEAS, drafting a BSI sales proposal, or

submitting the PIEAS order to Computer Company A. (ECF 69 at 26.) It is important to note that

PIEAS is not on the prohibited end-user list. (ECF 67 at 16, 31.) The unlawful act pertaining to

the Altix 450 consisted of causing Computer Company A to submit false export information

identifying “Taxila Engineering University” as the “ultimate consignee” of the items rather than

PIEAS. (Id.) Accordingly, processing the order from PIEAS and drafting sales proposals to PIEAS

were not “active steps” in furthering this activity. Rather, the evidence shows that only Co-




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Conspirator B took any action to fill out the export documentation provided to Computer

Company A that referred to Taxila. (GV Exs. 49, 55.)

       The government’s evidence regarding the Computer Company C systems and the

transceivers fare no better. On the Computer Company C systems, the evidence cited by the

government shows only that Co-Conspirator B submitted any documentation to Computer

Company C. (GV Ex. 74.) With respect to the attempt to purchase transceivers from Computer

Company C, the only two individuals involved in completing any end-use statements or relaying

information about the end-user were Co-Conspirator B and Mr. Syed. (GV Exs. 81, 82.) Although

Co-Conspirator E forwarded a purchase order to Computer Company B, the purchase order was

signed by Co-Conspirator B and there is no evidence that Co-Conspirator E played any role in its

creation or had any understanding of its contents. (GV Ex. 79.) At best, the remaining documents

cited by the government simply show that the other alleged co-conspirators were merely copied

on emails relating to the Altix 450 and Computer Company C systems. Being copied on an email

plainly is insufficient to establish knowing criminal involvement by a recipient.

       Indeed, the government’s argument with respect to the role enhancement is almost entirely

dependent on emails to which the Co-Conspirators were simply copied and which at most make

passing reference to U.S. export laws. From this, the government asks the Court to leap to a

conclusion that each of the Co-Conspirators read the emails—and in particular, the buried

language therein regarding export laws—understood them, had some reason to do so, and then

acted with criminal intent. That is a bridge too far. Because the government’s evidence is

insufficient to establish by a preponderance that five or more participants gave “knowing aid in

some part of the criminal enterprise,” the four-level enhancement under USSG § 3B1.1(a) is not

justified. Hall, 101 F.3d at1178 (7th Cir. 1996). See also United States v. Caputo, No. 07 CR 458-



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4, 2010 WL 1032621, at *1-2 (N.D. Ill. Mar. 17, 2010) (declining to apply the four-level

enhancement under § 3B1.1(a) where there were only two participants in the criminal activity and

the scope of the criminal activity was not “otherwise extensive”).8

V.       A “Significant Sentence of Imprisonment” Is Not Warranted

         Mr. Syed’s Sentencing Memorandum (ECF 67) sets forth a complete picture of the nature

and circumstances of the offense, Mr. Syed’s history and characteristics, and the minimal threat

Mr. Syed’s conduct imposed – each of which refutes the government’s arguments that the factors

of 18 U.S.C. § 3553(a) require a “significant sentence of imprisonment.” (ECF 69 at 29-30.)

However, certain assertions in the government’s memorandum require response.

         The government concedes that the “need for specific deterrence here is not great” and that

Mr. Syed’s risk of recidivism is low. (ECF 69 at 29). Yet, the government claims that “[p]eople

who work in this field are watching” and that a “significant sentence of imprisonment” is required

to promote adequate deterrence. (Id.) Respectfully, the government’s argument is seriously

undermined by the lack of urgency and protracted delay investigating and prosecuting Mr. Syed

during the roughly ten-year period in this case. (ECF 67 at 35-37.) During that time, the

government executed search warrants on various devices and email accounts, yet did not arrest

Mr. Syed, seize his passport (indeed, he took several international trips during this time period

while he was aware of the government’s investigation), or take any other action to prevent

Mr. Syed from engaging in commerce that the government now claims was a threat to national

security. (Id.) To the extent “[p]eople who work in this field” are actually watching, the

government’s own actions provide a multitude of reasons for those people to believe that they

could avoid prosecution in similar cases. In this respect, the government’s own actions render


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  If the court is inclined to apply any role enhancement in this case, no more than a 2-level
enhancement pursuant to § 3B1.1(c) would be appropriate.
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toothless their argument that a substantial prison sentence for Mr. Syed is required to “make plain

to the public at large that export violations affecting national security are serious and those

responsible for them will not be treated lightly.” (ECF 69 at 29.) Imposing a significant prison

sentence on Mr. Syed now would be unfair and unjust when the evidence strongly suggests that

the government itself did not view Mr. Syed’s actions to be particularly threatening.

       Finally, the government finds it “disappointing” that the timing of certain aspects of

Mr. Syed’s offense overlapped with his efforts to become a naturalized citizen of the United States.

(ECF 69 at 31.) Without directly saying it, the government implies that Mr. Syed took a false oath

of allegiance to the United States because he was willfully threatening United States security

interests through his business activities. Nothing could be further from the truth. Mr. Syed is

eternally grateful for this country and the opportunities it has afforded him and his family. (ECF

68-1.) There is absolutely no evidence that Mr. Syed acted with the intent to threaten national

security. Rather, his regrettable actions resulted from his desire as a businessman to consummate

five isolated transactions over a 13-year period in order to turn a profit. The use of false

documentation was motivated by an effort to make sales expeditiously, so as not to lose out on the

opportunity. This is not offered as any justification or excuse for Mr. Syed’s offense, for which he

accepts responsibility and is deeply remorseful. But it is a far cry from the heavy implication that

Mr. Syed willfully took action with the specific intent to aid foreign “enemies” and harm the

country that he, his wife, children, and grandchildren all call home.

                                         CONCLUSION

       Neither the government’s requested sentence nor the Probation Officer’s recommended

sentence is supported by the facts and circumstances of this case. Either would be unduly harsh.

For the reasons set forth in Mr. Syed’s Sentencing Memorandum and Supporting Exhibits, and in

this Response Memorandum, Mr. Syed respectfully submits that a sentence of time served (ten
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 days) and a two-year period of supervised release is appropriate because it is “sufficient, but not

 greater than necessary” considering the sentencing factors of § 3553(a).



                                                  Respectfully submitted,

                                                  OBAIDULLAH SYED

                                                  By:     /s/ Ryan Hedges
                                                         One of His Attorneys

Ryan S. Hedges, Esq.
Junaid A. Zubairi, Esq.
Nusra Ismail, Esq.
Vedder Price P.C.
222 North LaSalle Street
Chicago, Illinois 60601
T: +1 312 609 7500
rhedges@vedderprice.com
jzubairi@vedderprice.com
nismail@vedderprice.com


Dated: March 31, 2022




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                              CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing DEFENDANT OBAIDULLAH

SYED’S RESPONSE TO GOVERNMENT’S SENTENCING MEMORANDUM on

March 31, 2022 with the Clerk of the Court using the CM/ECF system and that a copy of the

foregoing was served upon counsel of record via the Court’s CM/ECF system.




                                              /s/ Ryan S. Hedges
                                              Ryan S. Hedges




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